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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 ---------------------------------------------------------------x
                                                                :
 In re                                                          :       Chapter 11
                                                                :
 SEARS HOLDINGS CORPORATION, et al.,                            :       Case No. 18-23538 (RDD)
                                                                :
                   Debtors.1                                    :       (Jointly Administered)
                                                                :
 ---------------------------------------------------------------x
      FIRST ORDER GRANTING APPLICATIONS OF PROFESSIONALS FOR
INTERIM ALLOWANCE OF COMPENSATION AND REIMBURSEMENT OF EXPENSES

                  Upon consideration of each of the applications (each, an “Application” and

 collectively, the “Applications”) filed by those professionals identified on Schedule A hereto

 (each, an “Applicant” and collectively, the “Applicants”) under 11 U.S.C. § 331 for interim

 allowance of compensation for professional services rendered and expenses incurred during the

 periods identified on Schedule A; and the Court having jurisdiction to consider the Applications

 and the relief requested therein in accordance with 28 U.S.C. §§ 157(a)-(b) and 1334(b) and the

 Amended Standing Order of Reference M-431, dated January 31, 2012 (Preska, C.J.); and


 1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
 number, are as follows: Sears Holdings Corporation (0798); Kmart Holding Corporation (3116); Kmart Operations
 LLC (6546); Sears Operations LLC (4331); Sears, Roebuck and Co. (0680); ServiceLive Inc. (6774); SHC Licensed
 Business LLC (3718); A&E Factory Service, LLC (6695); A&E Home Delivery, LLC (0205); A&E Lawn &
 Garden, LLC (5028); A&E Signature Service, LLC (0204); FBA Holdings Inc. (6537); Innovel Solutions, Inc.
 (7180); Kmart Corporation (9500); MaxServ, Inc. (7626); Private Brands, Ltd. (4022); Sears Development Co.
 (6028); Sears Holdings Management Corporation (2148); Sears Home & Business Franchises, Inc. (6742); Sears
 Home Improvement Products, Inc. (8591); Sears Insurance Services, L.L.C. (7182); Sears Procurement Services,
 Inc. (2859); Sears Protection Company (1250); Sears Protection Company (PR) Inc. (4861); Sears Roebuck
 Acceptance Corp. (0535); SR – Rover de Puerto Rico, LLC (f/k/a Sears, Roebuck de Puerto Rico, Inc.) (3626);
 SYW Relay LLC (1870); Wally Labs LLC (None); SHC Promotions LLC (9626); Big Beaver of Florida
 Development, LLC (None); California Builder Appliances, Inc. (6327); Florida Builder Appliances, Inc. (9133);
 KBL Holding Inc. (1295); KLC, Inc. (0839); Kmart of Michigan, Inc. (1696); Kmart of Washington LLC (8898);
 Kmart Stores of Illinois LLC (8897); Kmart Stores of Texas LLC (8915); MyGofer LLC (5531); Sears Brands
 Business Unit Corporation (4658); Sears Holdings Publishing Company, LLC. (5554); Sears Protection Company
 (Florida), L.L.C. (4239); SHC Desert Springs, LLC (None); SOE, Inc. (9616); StarWest, LLC (5379); STI
 Merchandising, Inc. (0188); Troy Coolidge No. 13, LLC (None); BlueLight.com, Inc. (7034); Sears Brands, L.L.C.
 (4664); Sears Buying Services, Inc. (6533); Kmart.com LLC (9022); Sears Brands Management Corporation (5365);
 and SRe Holding Corporation (4816). The location of the Debtors’ corporate headquarters is 3333 Beverly Road,
 Hoffman Estates, Illinois 60179.
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 consideration of the Applications and the relief requested therein being a core proceeding

 pursuant to 28 U.S.C. § 157(b)(2); and venue being proper before this Court pursuant to 28

 U.S.C. §§ 1408 and 1409; and due and proper notice of the Applications and the deadline for

 filing objections to the relief requested therein having been provided; and the Court having found

 and determined that all of the applicable requirements of sections 327, 328, and 331 of title 11 of

 the United States Code, Rule 2016 of the Federal Rules of Bankruptcy Procedure, Rule 2016-1

 of the Local Bankruptcy Rules for the Southern District of New York, the Amended Guidelines

 for Fees and Disbursements for Professionals in Southern District of New York Bankruptcy

 Cases, effective February 5, 2013 (as adopted by General Order M-447), and the Order

 Authorizing Procedures for Interim Compensation and Reimbursement of Expenses of

 Professionals (ECF No. 796) have been satisfied with respect to each of the Applications; and it

 appearing that the services rendered and expenses incurred by each of the Applicants for which

 compensation and reimbursement are allowed hereby were actual, reasonable and necessary; and

 after due deliberation and sufficient cause appearing therefor,

                IT IS HEREBY ORDERED THAT:

                1.      The Applications are granted as set forth on Schedule A hereto.

                2.      The Debtors are authorized and directed upon entry of this Order to remit

 payment to each of the Applicants in the amounts set forth on Schedule A hereto less all

 amounts previously paid on account of such fees and expenses set forth on Schedule B.

                3.      Nothing set forth in this Order shall preclude the review of the

 Applications by the Court-appointed independent fee examiner in these cases (the “Fee

 Examiner”) contemplated by the Order Authorizing Appointment of Independent Fee Examiner

 Pursuant to 11 U.S.C. § 105(a) and Modifying Interim Compensation Procedures for Certain




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 Professionals Employed Pursuant to 11 U.S.C. § 327 [Docket No. 3307], and the Fee Examiner

 hereby reserves all rights with respect thereto in connection with the approval of any final fee

 applications for such professional.

                4.      This Court shall retain jurisdiction to hear and determine all matters

 arising from or related to this Order.

 Dated: June 28, 2019
        White Plains, New York



                                             /s/ Robert D. Drain
                                             THE HONORABLE ROBERT D. DRAIN
                                             UNITED STATES BANKRUPTCY JUDGE




                                                3
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                                                                                                                                                  Schedule A
   Case No. 18-23538 (RDD)
   In re Sears Holdings Corporation, et al.
                                                              INTERIM FEE APPLICATIONS


                                  (2)
                                                    (3)          (4)             (5)                  (6)              (7)              (8)              (9)
           (1)               APPLICATION           FEE          FEES            FEES               FEES TO          EXPENSES         EXPENSES        EXPENSES
       APPLICANT              DATE AND           PERIOD      REQUESTED        ALLOWED              BE PAID         REQUESTED         ALLOWED         TO BE PAID
                             DOCKET NO.
                                                                                                    UNDER                                              UNDER
                                                                                                   ORDER1                                             ORDER2
McAndrews, Held and
                              April 8, 2019      10/15/18
Malloy’s (IP-Related
                                                     -        $628,967.84      $628,967.84        $628,967.84        $18,288.92     $18,288.92       $18,288.92
Services Provider for         ECF No. 3087       02/28/19
the Debtors)
Wachtell, Lipton, Rosen
& Katz (Special               April 12, 2019     10/15/18
Counsel for the Debtors)                             -        $873,185.00      $873,185.00        $873,185.00        $12,832.82     $12,832.82       $12,832.82
                              ECF No. 3185       03/18/193
(“WLRK”)
Akin Gump Strauss             April 15, 2019     10/24/18
Hauer & Feld LLP.                                    -       $20,309,841.00   $20,309,841.00    $20,309,841.00     $1,325,684.75    $1,325,684.75    $1,325,684.75
(Counsel for the UCC)         ECF No. 3190       02/28/19
Young Conaway
                              April 15, 2019     10/15/18
Stargatt & Taylor, LLP
                                                     -        $239,471.00      $239,471.00        $239,471.00        $1,385.59        $1,385.59        $1,385.59
(Conflicts Counsel for        ECF No. 3191       02/28/19
the Debtors)


   1
       Subject to amounts previously paid by the Debtors.
   2
       Id.
   3
     On March 18, 2019, the Court granted WLRK leave to withdraw as counsel to the Debtors pursuant to the Order Authorizing Wachtell, Lipton, Rosen & Katz to
   Withdraw as Special Counsel to the Debtors Pursuant to Local Rule 2090-1 [ECF No. 2860]. In the interest of judicial economy, and as noted in its Application
   [ECF No. 3185], WLRK submitted its Application as a combined interim and final fee application in order to cover the entirety of WLRK’s services on behalf of
   the Debtors through March 18, 2019. To the extent that WLRK seeks approval of its application as a final—rather than an interim—application, such request
   shall be considered at a subsequent hearing.
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                                 (2)
                                                  (3)         (4)             (5)                (6)             (7)          (8)            (9)
         (1)                APPLICATION          FEE         FEES            FEES             FEES TO         EXPENSES     EXPENSES      EXPENSES
     APPLICANT               DATE AND          PERIOD     REQUESTED        ALLOWED            BE PAID        REQUESTED     ALLOWED       TO BE PAID
                            DOCKET NO.
                                                                                               UNDER                                       UNDER
                                                                                              ORDER1                                      ORDER2
Houlihan Lokey Capital,      April 15, 2019    10/29/18
Inc. (Investment Banker                            -      $8,750,000.00    $8,750,000.00    $8,750,000.00    $110,347.94   $110,347.94   $110,347.94
for the UCC)                 ECF No. 3194      02/28/19
FTI Consulting Inc.          April 15, 2019    10/25/18
(Financial Advisor for                             -      $7,460,918.25    $7,460,918.25    $7,460,918.25     $38,344.76    $38,344.76    $38,344.76
the UCC)                     ECF No. 3195      02/28/19
Prime Clerk LLC              April 15, 2019    10/15/18
(Administrative Agent                              -         $981.75          $981.75          $981.75          $0.00         $0.00         $0.00
for the Debtors)             ECF No. 3196      02/28/19
Evercore Group L.L.C.        April 15, 2019    10/15/18
(Investment Banker for                             -      $1,000,000.00    $1,000,000.00    $1,000,000.00     $17,095.30    $17,095.30    $17,095.30
the Debtors)                 ECF No. 3204      03/14/19
Alvarez & Marsal North
                             April 15, 2019    10/15/18
America, LLC
                                                   -      $3,959,349.50    $3,959,349.50    $3,959,349.50     $25,674.97    $25,674.97    $25,674.97
(Financial Advisors for      ECF No. 3205      02/28/19
the Debtors)
Stout Risius Ross, LLC
                             April 15, 2019    11/21/18
(Real Estate Consultant
                                                   -       $173,291.00      $173,291.00      $173,291.00      $6,960.60     $6,960.60     $6,960.60
and Advisor for the          ECF No. 3206      02/28/19
Debtors)
Paul, Weiss, Rifkind,
Wharton & Garrison
LLP (Conflicts Counsel       April 15, 2019    10/15/18
for the Debtors and                                -      $14,377,232.25   $14,377,232.25   $14,377,232.25   $288,917.88   $288,917.88   $288,917.88
Counsel for the              ECF No. 3207      02/28/19
Restructuring
Subcommittee)
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                                 (2)
                                                  (3)         (4)               (5)                (6)              (7)            (8)              (9)
         (1)                APPLICATION          FEE         FEES              FEES             FEES TO          EXPENSES       EXPENSES        EXPENSES
     APPLICANT               DATE AND          PERIOD     REQUESTED          ALLOWED            BE PAID         REQUESTED       ALLOWED         TO BE PAID
                            DOCKET NO.
                                                                                                 UNDER                                            UNDER
                                                                                                ORDER1                                           ORDER2
Deloitte Transactions
                             April 15, 2019    11/01/18
and Business Analytics
                                                   -       $5,509,852.75     $5,509,852.75     $5,509,852.75    $261,846.10     $261,846.10     $261,846.10
LLP (Bankruptcy              ECF No. 3213      02/28/19
Advisor for the Debtors)
Lazard Freres & Co.          April 15, 2019    10/15/18
LLC (Investment                                    -      $20,500,000.00    $20,500,000.00    $20,500,000.00     $11,395.28      $11,395.28      $11,395.28
Banker for the Debtors)      ECF No. 3217      02/28/19
Deloitte Tax LLP (Tax        April 15, 2019    10/15/18
Services Provider for                              -       $3,263,507.00     $3,263,507.00     $3,263,507.00     $70,248.94      $70,248.94      $70,248.94
the Debtors)                 ECF No. 3220      02/28/19
Deloitte & Touche LLP
                             April 15, 2019    10/15/18
(Independent Auditor
                                                   -       $2,324,770.50     $2,324,770.50     $2,324,770.50     $47,154.66      $47,154.66      $47,154.66
and Advisor for the          ECF No. 3223      02/28/19
Debtors)
Weil, Gotshal &              April 15, 2019    10/15/18
Manges LLP (Attorneys                              -      $40,705,193.75    $40,705,193.75    $40,705,193.75    $1,572,862.82   $1,572,862.82   $1,572,862.82
for the Debtors)             ECF No. 3224      02/28/19
                          TOTAL                           $130,076,561.59   $130,076,561.59   $130,076,561.59   $3,809,041.33   $3,809,041.33   $3,809,041.33



   Date Order Signed: June 28, 2019

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                                                                                                                          Schedule B

 Case No. 18-23538 (RDD)
 In re Sears Holdings Corporation, et al.

                                                           FEE APPLICATION TOTALS
                 (1)                                    (2)                 (3)                    (4)                     (5)
               Applicant                       Total Fees Requested   Total Fees Paid   Total Expenses Requested   Total Expenses Paid

    McAndrews, Held and Malloy’s
  (IP-Related Services Provider for the            $628,967.84         $503,174.27             $18,288.92              $18,288.92
                Debtors)


     Wachtell, Lipton, Rosen & Katz
                                                   $873,185.00         $698,548.00             $12,832.82              $12,832.82
    (Special Counsel for the Debtors)


 Akin Gump Strauss Hauer & Feld LLP.
                                                  $20,309,841.00      $16,247,872.80         $1,325,684.75            $1,325,684.75
        (Counsel for the UCC)


Young Conaway Stargatt & Taylor, LLP
                                                   $239,471.00         $191,576.80             $1,385.59                $1,385.59
  (Conflicts Counsel for the Debtors)


Houlihan Lokey Capital, Inc. (Investment
                                                  $8,750,000.00        $7,000,000.00          $110,347.94              $110,347.94
         Banker for the UCC)


FTI Consulting Inc. (Financial Advisor for
                                                  $7,460,918.25        $5,968,734.60           $38,344.76              $38,344.76
                the UCC)
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                                                          FEE APPLICATION TOTALS
                   (1)                                (2)                       (3)                          (4)                           (5)
                 Applicant                   Total Fees Requested         Total Fees Paid         Total Expenses Requested         Total Expenses Paid

Prime Clerk LLC (Administrative Agent
                                                   $981.75                    $785.40                       $0.00                          $0.00
           for the Debtors)


     Evercore Group L.L.C. (Investment
                                                $1,000,000.00              $880,000.001                   $17,095.30                     $5,244.86
    Banker for the Debtors) (“Evercore”)


Alvarez & Marsal North America, LLC
 (Financial Advisors for the Debtors)           $3,959,349.50              $3,167,479.60                  $25,674.97                    $26,315.522
             (“A&M”)


 Stout Risius Ross, LLC (Real Estate
Consultant and Advisor for the Debtors)          $173,291.00                $140,628.80                   $6,960.60                     $6,964.633
               (“Stout”)




1
  Pursuant to the Modified Order Authorizing the Retention and Employment of Evercore Group L.L.C. as Financial Advisor for The Debtors Nunc Pro Tunc to
the Petition Date [ECF No. 1089] (“Evercore Retention Order”), as of the date of entry of the Evercore Retention Order, Evercore was authorized to receive
two monthly fee payments, each in the amount of $200,000, and will subsequently receive monthly fee payments in the same amount subject to an 80%
holdback.
2
  According to the First Application of Alvarez and Marsal North America, LLC as Financial Advisors for The Debtors, for Interim Allowance of Compensation
for Professional Services Rendered and Reimbursement of Actual and Necessary Expenses Incurred From October 15, 2018 Through February 28, 2019 [ECF
No. 3205], the total expenses paid in the amount of $26,315.52 includes an inadvertent overcharge of $640.55. A&M has voluntarily reduced the unpaid amount
of the total fees and expenses currently sought in its Application by the overcharged amount.
3
 According to the First Interim Fee Application of Stout Risius Ross, LLC, Real Estate Consultant And Advisor For The Debtors, For The Period From
November 21, 2018 Through And Including February 28, 2019 [ECF No. 3206], the total expenses paid in the amount of $6,964.63 includes an inadvertent
overcharge of $4.03. Stout has voluntarily reduced the unpaid amount of the total fees and expenses currently sought in its Application by the overcharged
amount.
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                                                         FEE APPLICATION TOTALS
                 (1)                                  (2)                 (3)                    (4)                     (5)
               Applicant                     Total Fees Requested   Total Fees Paid   Total Expenses Requested   Total Expenses Paid

Paul, Weiss, Rifkind, Wharton & Garrison
 LLP (Conflicts Counsel for the Debtors
                                                $14,377,232.25      $11,521,070.40          $288,917.88              $288,917.88
    and Counsel for the Restructuring
             Subcommittee)


  Deloitte Transactions and Business
 Analytics LLP (Bankruptcy Advisor for          $5,509,852.75        $4,407,882.20          $261,846.10              $261,846.10
             the Debtors)


 Lazard Freres & Co. LLC (Investment
                                                $20,500,000.00      $16,440,000.00           $11,395.28              $11,395.28
        Banker for the Debtors)


           Deloitte Tax LLP
                                                $3,263,507.00        $2,613,879.98           $70,248.94              $70,248.94
 (Tax Services Provider for the Debtors)


  Deloitte & Touche LLP (Independent
                                                $2,324,770.50        $1,859,816.40           $47,154.66              $47,154.66
  Auditor and Advisor for the Debtors)


Weil, Gotshal & Manges LLP (Attorneys
                                                $40,705,193.75      $32,564,155.00         $1,572,862.82            $1,572,862.82
            for the Debtors)



Dated Order Signed: June 28, 2019

Initials: RDD USBJ
